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 3                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
 4
 5   NOCHUM C. WILNER and ESTY WILNER,

 6               Plaintiffs,
                                                  CASE NO. 7:15-cv-09374-KMK
 7         vs.
 8
     LEOPOLD & ASSOCIATES, PLLC.,
 9
                 Defendants.
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11
12        DECLARATION OF JENNIFER M. KEOUGH REGARDING DISTRIBUTION OF
                             SETTLEMENT BENEFITS
13
14   I, JENNIFER M. KEOUGH, declare and state as follows:

15         1.    I am Chief Executive Officer at JND Legal Administration (“JND”). The

16   following statements are based on my personal knowledge and information provided to

17   me by other JND employees working under my supervision and, if called on to do so, I

18   could and would testify competently thereto.

19         2.    JND is a legal administration services provider with its headquarters

20   located in Seattle, Washington. JND has extensive experience in all aspects of legal

21   administration and has administered settlements in hundreds of cases. As CEO, I am

22   involved in all facets of JND’s operation including monitoring the implementation of

23   our notice and claims administration programs.

24         3.    JND is serving as the Settlement Administrator in the above-captioned

25   litigation (“Action”) for the purposes of administering the Class Action Settlement

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28     DECLARATION OF JENNIFER M. KEOUGH REGARDING DISTRIBUTION OF SETTLEMENT BENEFITS
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 1   Agreement (“Settlement Agreement”) approved by the Court in its January 25, 2022
 2   Final Judgment Approving Class Action Settlement Agreement (“Final Judgment”).
 3          4.     This Declaration is being filed to provide updated statistics regarding
 4   settlement administration and a final report of the distribution of settlement benefits.
 5                        COURT APPROVAL OF DISTRIBUTION
 6          5.     As of the date of this Declaration, JND has completed the distribution of
 7   the Settlement Fund pursuant to the Court’s Final Judgment, which approved the
 8   distribution of Settlement payments to all Remaining Class Members.
 9                  SETTLEMENT PAYMENTS TO CLASS MEMBERS
10          6.     As of the date of JND’s previous Declaration1, there were 1,900 Remaining
11   Class Members, who are those Class Members who did not request exclusion and whose
12   Notice was not returned as undeliverable. In the intervening months, an additional 74
13   Notices were returned as undeliverable. Therefore, the final number of Remaining Class
14   Members was 1,826.
15          7.     Pursuant to the Settlement Agreement, the Settlement Fund was divided
16   equally among all Remaining Class Members. Each Remaining Class Member was
17   issued a check for $6.57.
18          8.     On February 7, 2022, JND mailed checks to the 1,826 Remaining Class
19   Members, totaling $11,996.82.
20                          REMAINING SETTLEMENT FUNDS
21          9.     A total of 600 checks, adding up to $3,942.00, were cashed or deposited.
22   The remaining 1,226 checks, with a total value of $8,054.82, have not been cashed or
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25   1
      DECLARATION OF JENNIFER M. KEOUGH REGARDING DISSEMINATION OF NOTICE AND
     ADMINISTRATION OF SETTLEMENT, executed on November 18, 2021.
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28       DECLARATION OF JENNIFER M. KEOUGH REGARDING DISTRIBUTION OF SETTLEMENT BENEFITS
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 1   deposited. In addition, $3.18 remained in the Settlement Fund after the pro rata
 2   calculations. Therefore, the final amount of undistributed Class Funds was $8,058.00.
 3         10.    On May 20, 2022, JND mailed to Class Counsel a check in the amount of
 4   $8,058.00, made payable to The Legal Aid Society of Westchester County.
 5
 6         I declare under penalty of perjury under the laws of the United States that the
 7   foregoing is true and correct.
 8         Executed on June 1, 2022, at Seattle, Washington.
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11                                                   JENNIFER M. KEOUGH
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28     DECLARATION OF JENNIFER M. KEOUGH REGARDING DISTRIBUTION OF SETTLEMENT BENEFITS
